     Case 8:23-cv-02051-DFM Document 1 Filed 11/01/23 Page 1 of 8 Page ID #:1




 1 THERESA L. KITAY (SBN 237311)
   tkitay@bakerdonelson.com
 2 BAKER, DONELSON, BEARMAN,
   CALDWELL & BERKOWITZ, PC
 3 3414 Peachtree Road, NE, Suite 1500
   Atlanta, GA 30326
 4 Telephone: 404-577-6000
   Facsimile: 404-221-6501
 5 Attorney for Defendants 6th/Vermont
   RX Associates, LLC and Essex Property Trust, Inc.
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                               SOUTHERN DIVISION
11
12 JOSE PERALES, an individual,                     Case No. 8:23-cv-02051
13                  Plaintiff,                      DEFENDANTS’ NOTICE OF
                                                    REMOVAL OF CIVIL
14         v.                                       ACTION PURSUANT TO 28
                                                    U.S.C. SECTIONS 1332, 1441,
15 6TH/VERMONT RX ASSOCIATES,                       AND 1446
   LLC, a California limited liability
16 company; ESSEX PROPERTY TRUST,                   REMOVAL FILED:
   INC., a Maryland corporation, and DOES           NOVEMBER 1, 2023
17 1-10,
                                                   [Originally Orange County Superior
18               Defendants.                        Court, Case No. 30-2023-
                                                    01349593-CU-CR-NJC]
19
20
21
22
           TO THE CLERK OF THE ABOVE-ENTITLED COURT:
23
24      1. Pursuant to Title 28, United States Code, Section 1331, 1367, 1441, and 1446,
25
           Defendants 6th/Vermont RX Associates, LLC (“Vermont RX”) and Essex
26
27         Property Trust, Inc. (“Essex”) (collectively Defendants) remove the above-
28                                            1
                                                                      NOTICE OF REMOVAL
                                                                      CASE NO. 8:23-cv-02051
     Case 8:23-cv-02051-DFM Document 1 Filed 11/01/23 Page 2 of 8 Page ID #:2




 1         entitled action from the Superior Court for Orange County, California to the
 2
           United States District Court for the Central District of California.
 3
 4      2. This Court has original jurisdiction over this action under 28 U.S.C. § 1331

 5         because this action involves a claim that arises under the Constitution, laws, or
 6
           treaties of the United States.
 7
 8      3. On September 12, 2023, Plaintiff filed a Verified Complaint in the Superior

 9         Court entitled Jose Perales v. 6th/Vermont RX Associates, LLC, Essex Property
10
           Trust, Inc., and Does 1-10, Case No. 30-2023-01349593-CU-CR-NJC.
11
12      4. The Complaint purports to state causes of action against Defendants for

13         violations of the: (1) Federal Fair Housing Act; (2) California Fair
14
           Employment and Housing Act; (3) California Unruh Civil Rights Act; and (4)
15
16         California Disabled Persons Act.

17      5. On October 2, 2023, Plaintiff served Defendants Vermont RX and Essex with
18
           the Complaint and Summons. The unidentified Doe Defendants have not been
19
20         served.
21      6. In accordance with Section 1446(a), attached as Exhibits 1-5, Defendants file
22
           herewith copies of all Superior Court Actions filing to date.
23
24      7. A Notice to the State Court of Removal will be filed with the Superior Court
25         and served on Plaintiff through his attorney, as required under 28 U.S.C. §
26
           1446(d). Likewise, Defendants are providing written notice of the filing of this
27
28                                              2
                                                                           NOTICE OF REMOVAL
                                                                           CASE NO. 8:23-cv-02051
     Case 8:23-cv-02051-DFM Document 1 Filed 11/01/23 Page 3 of 8 Page ID #:3




 1         Notice of Removal to Plaintiff, as evidenced by the Certificate of Service. 28
 2
           U.S.C. § 1446(d). In addition, in accordance with Local Rule 7.1-1, a Notice
 3
 4         of Interested Parties is being filed concurrently with this Notice of Removal.

 5      8. An action is removable if a federal court has original jurisdiction. 28 U.S.C.
 6
           § 1441(a-b). A federal court has original jurisdiction under two circumstances:
 7
 8         (1) where the controversy involves a federal question, or (2) where there is

 9         diversity of citizenship between the parties and the amount in controversy
10
           exceeds $75,000. 28 U.S.C. §§ 1331, 1332.
11
12      9. Here, this Court has original federal question jurisdiction because Plaintiff

13         attempts to assert a claim under the Fair Housing Amendments Act of 1988
14
           (“FHA”), 42 U.S.C. § 3601 et seq. (See Compl. at ¶¶ 45-52). Accordingly, the
15
16         Court has original federal question jurisdiction. This action is removable.

17      10.Additionally, Plaintiff purports to bring state law claims arising out of the
18
           same facts and circumstances of Plaintiff’s claims under the FHA. (See
19
20         Compl. at ¶¶ 53-81). This Court can exercise supplemental jurisdiction over
21         Plaintiff’s state law claims, and such exercise is warranted under these
22
           circumstances to prevent the needless waste of resources of the court systems
23
24         and litigants. See 28 U.S.C. ¶ 1367(a); City of Chicago v. Int’l Coll. Of
25         Surgeons, 522 U.S. 156, 164-65 (1997) (“the federal courts’ original
26
           jurisdiction over federal questions carries with it jurisdiction over state law
27
28                                              3
                                                                          NOTICE OF REMOVAL
                                                                          CASE NO. 8:23-cv-02051
     Case 8:23-cv-02051-DFM Document 1 Filed 11/01/23 Page 4 of 8 Page ID #:4




 1         claims that derive from a common nucleus of operative fact, such that the
 2
           relationship between the federal claim and the state claim permits the
 3
 4         conclusion that the entire action before the court comprises but one

 5         constitutional case.”) (internal citations omitted). All of Plaintiff’s claims are
 6
           factually interdependent because they arise under the same factual allegations,
 7
 8         and the Court should exercise supplemental jurisdiction over Plaintiff’s state

 9         law claims.
10
        11.Plaintiff purportedly served Defendants on October 2, 2023. A notice of
11
12         removal of a civil action is required to be filed within thirty (30) days after the

13         receipt by the defendant, through service, of a copy of the initial pleading
14
           setting forth the claim for relief upon which such action or proceeding is
15
16         based. 28 U.S.C. § 1446(b). Thirty days after purported service is November

17         1, 2023. This removal is timely.
18
        12.The Superior Court for Orange County, California is a state court within this
19
20         District. Therefore, venue is proper. 28 U.SC. § 1441(a).
21         WHEREFORE, Defendants requests that this Court make any and all orders
22
           necessary to affect the removal of this case from the Superior Court of the
23
24         State of California for Orange County to effect and prepare in this Court a true
25         record of all proceedings that may have been had in said state court.
26
27
28                                               4
                                                                          NOTICE OF REMOVAL
                                                                          CASE NO. 8:23-cv-02051
     Case 8:23-cv-02051-DFM Document 1 Filed 11/01/23 Page 5 of 8 Page ID #:5




 1
     DATED: November 1, 2023                    BAKER DONELSON BEARMAN
 2                                              CALDWELL & BERKOWITZ, PC
 3
 4                                       By: /s/ Theresa L. Kitay
 5                                              THERESA L. KITAY
                                                Attorney for Defendants 6th/Vermont
 6                                              RX Associates, LLC and Essex Property
                                                Trust, Inc.
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                          5
                                                                    NOTICE OF REMOVAL
                                                                    CASE NO. 8:23-cv-02051
     Case 8:23-cv-02051-DFM Document 1 Filed 11/01/23 Page 6 of 8 Page ID #:6



 1 THERESA L. KITAY (SBN 237311)
   tkitay@bakerdonelson.com
 2 BAKER, DONELSON, BEARMAN,
   CALDWELL & BERKOWITZ, PC
 3 3414 Peachtree Road, NE, Suite 1500
   Atlanta, GA 30326
 4 Telephone: 404-577-6000
   Facsimile: 404-221-6501
 5 Attorney for Defendants 6th/Vermont
   RX Associates, LLC and Essex Property Trust, Inc
 6
 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                SOUTHERN DIVISION
11 JOSE PERALES, an individual,                    Case No. 8:23-cv-02051
12                  Plaintiff,
                                                  PROOF OF SERVICE
13         v.
14 6TH/VERMONT RX ASSOCIATES,                     REMOVAL FILED:
   LLC, a California limited liability            NOVEMBER 1, 2023
15 company; ESSEX PROPERTY TRUST,
   INC., a Maryland corporation, and              [Originally Orange County Superior
16 DOES 1-10,                                      Court, Case No. 30-2023-01349593-
                                                   CU-CR-NJC]
17               Defendants.
18
19
20                                  PROOF OF SERVICE
21 I am a resident of the State of Georgia, over the age of eighteen years, and not a party
22
   to the within action. My business address is 3414 Peachtree Road, NE, Suite 1500,
23
24 Atlanta, Georgia 30326. On 11/01/23 I served the within document(s):
25      1) Defendants’ Notice of Removal of Civil Action Pursuant to 28 U.S.C. Sections
26
           1331, 1367, 1441, and 1446
27                                            6
28                                                     PROOF OF SERVICE - NOTICE OF REMOVAL
                                                                         CASE NO. 8:23-cv-02051
     Case 8:23-cv-02051-DFM Document 1 Filed 11/01/23 Page 7 of 8 Page ID #:7



 1 on the interested parties in this action by transmitting true copies thereof addressed
 2
   as stated below:
 3
 4 Cody Cooper                                          Attorney for Plaintiff
   Anoush Hakimi                                       Jose Perales
 5 Peter Shahriari
 6 LAW OFFICES OF HAKIMI & SHAHRIARI
   15760 Ventura Blvd., Suite 650
 7 Encino, CA 91436
 8 Tel: 888-635-2250
   Email:      cody@handslawgroup.com,            anoush@handslawgroup.com,
 9 peter@handslawgroup.com
10
   X (BY MAIL): I deposited such envelope in the mail at Atlanta, Georgia with
11
12 postage fully prepaid.     I am readily familiar with this firm's Practice of
13 collection and processing correspondence for mailing. Under that practice it
14
   would be placed for collection and mailing, and deposited with the U.S. Postal
15
16 Service on that same day with postage thereon fully prepaid at Atlanta, Georgia
17 in the ordinary course of business. I am aware that on motion of party served,
18
   service is presumed invalid if postal cancellation date or postage meter date is
19
20 more than 1 day after date of deposit for mailing in affidavit.
21
     □ (VIA OVERNIGHT MAIL): I deposited such envelope to be placed for
22
     collection and handling, via UPS following our ordinary business practices. I am
23
24 readily familiar with this business practice for collecting and processing
25
     correspondence for UPS. On the same day that material is placed for collection, it
26
     is picked up by UPS at Atlanta, Georgia.
27                                          7
28                                                   PROOF OF SERVICE - NOTICE OF REMOVAL
                                                                       CASE NO. 8:23-cv-02051
     Case 8:23-cv-02051-DFM Document 1 Filed 11/01/23 Page 8 of 8 Page ID #:8



 1
 2
 3
     X (BY ELECTRONIC MAIL): By transmitting a true copy thereof to the
 4
     electronic mail addresses as indicated above.
 5
 6 □ (BY CM/ECF SERVICE): I caused such document(s) to be delivered
 7
     electronically via CM/ECF as noted herein.
 8
 9
10 I am readily familiar with the firm’s practice of collection and processing
11
     correspondence for mailing and for shipping via overnight delivery service. Under that
12
     practice, it would be deposited with the U.S. Postal Service on the same day with
13
14 postage or fees thereon fully prepaid in the ordinary course of business.
15
16
17 I declare under penalty of perjury under the laws of the United States and the State of
18 Georgia that the above is true and correct. Executed on 11/1/23 in Atlanta, Georgia.
19
20 Name: Sarah Toenes                                   __________________________
                                                        Sarah Toenes
21
22
23
24
25
26
27                                            8
28                                                     PROOF OF SERVICE - NOTICE OF REMOVAL
                                                                         CASE NO. 8:23-cv-02051
